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Ruben L. Iñiguez
Assistant Federal Defender
101 SW Main Street, Suite 1700
Portland, OR 97204
Tel: (503) 326-2123
Fax: (503) 326-5524
Email: ruben_iniguez@fd.org
Attorney for Defendant




                    IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF OREGON

 UNITED STATES OF AMERICA,                   Case No. 3:15-cr-00438-JO

                     Plaintiff,              UNOPPOSED MOTION FOR ORDER
                                             AUTHORIZING LIMITED
       v.                                    DISCLOSURE OF UNREDACTED
                                             PSYCHOLOGICAL EVALUATION TO
 WINSTON SHROUT,                             COURT-APPOINTED EXPERT

                     Defendant.

      The defendant, Winston Shrout, through his attorney, Ruben L. Iñiguez, hereby

moves the Court to enter an Order authorizing the limited disclosure of an unredacted

copy of the psychological report previously filed under seal (CR 132) to Stephanie Maya

Lopez, M.D., Chief Administrative Psychiatrist, Oregon Health & Science University,

Portland, Oregon, for the sole and exclusive purposes of conducting a psychological or

psychiatric examination, and preparing a report, in accordance with this Court’s previous

Order dated May 7, 2018 (CR 141) and Title 18, United States Code, Sections 4241(b) and


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        UNREDACTED PSYCHOLOGICAL EVALUATION TO COURT-APPOINTED EXPERT
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4247(b) and (c). The government, through Stuart A. Wexler and Lee F. Langston, Trial

Attorneys, Tax Division, do not oppose this Motion.

       Mr. Shrout’s request for an Order authorizing the limited disclosure to Dr. Lopez

of an unredacted copy of the prior report is expressly conditioned on his understanding,

and the agreement of the parties, that the limited disclosure shall not be construed, in this

or any other proceeding, as a waiver of the attorney-client or work product privilege, and

the contents of the prior report shall not be used by the prosecution for any purpose other

than the performance of the additional, court-ordered examination, the preparation of

the additional, court-ordered report, the direct testimony of the court-ordered expert

during any related hearing, and the cross-examination of the defense expert during any

related hearing. This agreement applies to the entirety of the prior report, including, but

not limited to, the previously redacted portions.

       RESPECTFULLY submitted this 21st day of May, 2018.

                                                  /s/ Ruben L. Iñiguez
                                                  Ruben L. Iñiguez
                                                  Attorney for Defendant




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        UNREDACTED PSYCHOLOGICAL EVALUATION TO COURT-APPOINTED EXPERT
